                   Case 24-12480-JTD             Doc 754        Filed 01/16/25        Page 1 of 4




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                                Chapter 11

    FRANCHISE GROUP, INC., et al.,1                                       Case No. 24-12480 (JTD)

                                                                          (Jointly Administered)
                                Debtors.
                                                                          Re: Docket No. 751

                                        CERTIFICATE OF SERVICE

             I, Alexander R. Steiger, hereby certify that on January 16, 2025, I caused a copy of the

Limited Response of B. Riley to the Objection of the United States Trustee to Debtors’ Application

for an Order Authorizing the Retention and Employment of Willkie Farr & Gallagher LLP as Co-

Counsel for the Debtors Nunc Pro Tunc to the Petition Date [Docket No. 751] to be served upon

the parties listed below in the manner indicated:




1
         The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
         numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
         Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM
         Receivables, Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group
         New Holdco, LLC (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068),
         Franchise Group Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise
         Group Newco Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight
         Holdings, LLC (8271), American Freight, LLC (5940), American Freight Management Company, LLC (1215),
         Franchise Group Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight
         Franchising, LLC (1353), Home and Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573),
         American Freight Franchisor, LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC
         (5404), Buddy’s Franchising and Licensing, LLC (9968), Franchise Group Intermediate V, LLC (5958),
         Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group
         Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin
         Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services,
         LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt
         Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP,
         LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
         Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
         Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group
         Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The
         Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware, Ohio 43015.



RLF1 32229068v.2
                   Case 24-12480-JTD   Doc 754    Filed 01/16/25    Page 2 of 4




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RLF1 32229068v.2
                   Case 24-12480-JTD   Doc 754    Filed 01/16/25   Page 3 of 4




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                                             3
RLF1 32229068v.2
                   Case 24-12480-JTD   Doc 754    Filed 01/16/25    Page 4 of 4




 Respectfully submitted,

 Dated: January 16, 2025
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                                                 /s/ Alexander R. Steiger
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                                                 Amanda R. Steele (No. 5530)
                                                 Cory D. Kandestin (No. 5025)
                                                 Alexander R. Steiger (No. 7139)
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                                                 Counsel to B. Riley Principal Investments, LLC
                                                 and its Affiliates




                                             4
RLF1 32229068v.2
